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                         EXHIBIT D
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                                              Claim Chart for U.S. Patent No. 9,581,272

       Telebrands Corporation (“Telebrands”) provides evidence of infringement of Claim 1 of U.S. Patent No. 9,581,272 (the “’272
Patent”) by Defendant Pinnacle Brands, LLC (“Pinnacle Brands” or “Defendant”). In support thereof, Telebrands provides the
following claim chart.

        “Accused Products” as used herein refers to at least the following infringing expandable hose products provided by Pinnacle
Brands: the Rugged Hose, 50 foot; the Perfect Hose Deluxe Pro Full Size Garden Hose, 100 foot; the Perfect Hose Brass Fitting, 100
foot; the Perfect Hose Brass Fitting, 50 foot; the Perfect Hose Deluxe, 100 foot; the Perfect Hose Deluxe, 50 foot, the Perfect Hose
Deluxe Pro, 100 foot; the Perfect Hose Deluxe Pro, 50 foot; the Perfect Hose Deluxe Rugged Series, 100 foot; the Perfect Hose
Deluxe Rugged Series, 50 foot; the Perfect Hose, 100 foot; and the Perfect Hose, 50 foot.

        This claim chart demonstrates Defendant’s infringement by comparing each element of the asserted claim to corresponding
components, aspects, and/or features of the Accused Products. This claim chart is not intended to constitute an expert report on
infringement. This claim chart includes information provided by way of example, and not by way of limitation.

        The analysis set forth below is based upon information from only publicly available sources regarding the Accused Products,
as Defendant has not yet provided any non-public information. An analysis of Defendant’s (or third parties’) non-public
documentation may assist in fully identifying all infringing components, aspects, features, and/or additional products provided by
Defendant. Accordingly, Telebrands reserves the right to supplement this infringement analysis once such information is made
available to Telebrands. Furthermore, Telebrands reserves the right to revise this infringement analysis, as appropriate, upon issuance
of a court order construing any terms recited in the asserted claim or claims.

        Telebrands provides this evidence of infringement and related analysis without the benefit of claim construction or expert
reports or discovery. Telebrands reserves the right to supplement, amend or otherwise modify this analysis and/or evidence based on
any such claim construction or expert reports or discovery.

        Unless otherwise noted, Telebrands contends that Defendant directly infringes the ’272 Patent in violation of 35 U.S.C. §
271(a) by making, using, offering for sale, or selling within the United States or importing into the United States the Accused
Products. The following exemplary analysis demonstrates that infringement. Defendant makes, uses, offers for sale, sells, and/or
imports in the United States, or has made, used, offered for sale, sold, and/or imported in the past, without authority, products that
infringe at least claim 1 of the ’272 Patent, including without limitation, the Accused Products.




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        Unless otherwise noted, Telebrands believes and contends that each element of each claim asserted herein is literally met by
the Accused Products. However, to the extent that Defendant attempts to allege that any asserted claim element is not literally met,
Telebrands believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation
and analysis of the Accused Products, Telebrands did not identify any substantial differences between the elements of the patent
claims and the corresponding features of the Accused Products, as set forth herein. In each instance, the identified feature of the
Accused Products performs at least substantially the same function in substantially the same way to achieve substantially the same
result as the corresponding claim element.

        To the extent the chart of an asserted claim relies on evidence about certain specifically-identified Accused Products,
Telebrands asserts that, on information and belief, any similarly-functioning products also infringe the charted claim. Telebrands
reserves the right to amend this infringement analysis based on other products made, used, offered for sale, sold, and/or imported by
Defendant. Telebrands also reserves the right to amend this infringement analysis by identifying additional claims of the ’272 Patent
not identified in this claim chart, that are infringed by the Accused Products. Telebrands further reserves the right to amend this
infringement analysis by adding, removing, or otherwise modifying content in the “Accused Products” column of each chart.




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 Claim          Claim Language                                       Accused Products
Element
1[PRE] A hose comprising:               The Accused Products are hoses.

                                        For example, below is a screen shot of the Perfect Hose Deluxe Rugged Series
                                        (50ft) provided by Pinnacle Brands.




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 Claim         Claim Language                                       Accused Products
Element
                                       Below are additional photos taken of the Perfect Hose Deluxe Rugged Series
                                       (50ft) provided by Pinnacle Brands.




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 Claim              Claim Language                                                Accused Products
Element
  1[A]  a flexible elongated outer tube             The Accused Products have a flexible elongated outer tube member (i.e., blue
        member having a first end and a             and black fabric, flexible, and elongated outer tube shown in the below images)
        second end, an interior of said outer       having a first end and a second end; the interior of the outer tube member is
        tube member being substantially             substantially hollow.
        hollow;
                                                    The below image taken of the Accused Product shows the blue and black
                                                    fabric, flexible, and elongated outer tube member having a first end and a
                                                    second end (each end connected to a metal connector).




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 Claim              Claim Language                                                Accused Products
Element
                                                   The below image taken of the Accused Product shows that the flexible
                                                   elongated outer tube member (i.e., blue and black fabric) is substantially
                                                   hollow.




 1[B]     a flexible elongated inner tube          The Accused Products have a flexible elongated inner tube member (i.e., blue
          member having a first end and a          elastic tube shown inside the blue and black fabric outer tube member in the
          second end, an interior of said inner    below images) having a first end and a second end; the interior of the inner tube
          tube member being substantially          member is substantially hollow; the inner tube member is made of an elastic
          hollow, said inner tube member is        material; the elastic material has an elongation ratio between two and six times
          made from an elastic material having     its contracted or unexpanded length.
          an elongation ratio between two and
          six times its contracted or unexpanded   The Accused Products have an inner latex core or tube (which is elastic) that
          length;                                  runs the length of the outer tube and thus has a first end and a second end. The
                                                   Accused Products (and thus, the inner latex tube) goes from a contracted or


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 Claim         Claim Language                                         Accused Products
Element
                                       unexpanded state (i.e., when no water pressure is being applied to the hose) to a
                                       stretched or expanded state (i.e., when pressurized water is being applied to the
                                       hose). The product packaging states that the hose is “3x Expandable.” Further,
                                       the “Specifications” on the packaging state that the “original length” of the hose
                                       is 15.4 feet while the “expanding length” of the hose is 50 feet. This means that
                                       the elongation ratio of the elastic material is approximately three times its
                                       contracted or unexpanded length.

                                      The below image taken of the Accused Product shows that the flexible
                                      elongated latex inner tube member (i.e., blue inner tube inside the blue and
                                      black fabric outer tube) is substantially hollow.




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 Claim             Claim Language                                                 Accused Products
Element
  1[C]  an inlet coupler secured to said first     The Accused Products have an inlet coupler (i.e., first connector that connects
        end of said inner and said outer tube      the hose to a conventional faucet or spigot thereby providing pressurized water)
        members, said inlet coupler having a       secured to the first ends of the inner and the outer tube members, and the inlet
        flow thru aperture with an inlet tubular   coupler has a flow thru aperture with an inlet tubular extension section sealed to
        extension section sealed to a first open   a first open end of the inner tube member and secured to a first open end of the
        end of said inner tube member and          outer tube member.
        secured to a first open end of said
        outer tube member;                         The below image shows the inlet coupler (i.e., first connector, annotated in red)
                                                   secured to one end of the hose (and thus, a first end of the inner latex tube and
                                                   the outer fabric tube). As seen in the below image, the packaging refers to this
                                                   inlet coupler as a “solid metal connector.”




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 Claim        Claim Language                                        Accused Products
Element
                                     Further, the below image of the Accused Product shows that the inlet coupler
                                     (i.e., first connector) is secured to the first ends of the inner and outer tube
                                     members. The image shows that the first ends of the inner and outer tube
                                     members are crimped together and thereby connected to the inlet coupler.




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 Claim        Claim Language                                        Accused Products
Element
                                     Moreover, the below images of the Accused Product show the inlet coupler
                                     (i.e., the first connector identified by the blue arrow) has a flow thru aperture
                                     (identified by the red arrow) with an inlet tubular extension section (identified
                                     by the orange arrow) sealed to a first open end of the inner tube member and
                                     secured to a first open end of the outer tube member.




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 Claim              Claim Language                                                 Accused Products
Element
                                                    Notably, the first open end of the inner tube member and the outer tube member
                                                    are crimped together to the inlet tubular extension section and therefore the inlet
                                                    tubular extension section is sealed to the first open end of the inner tube
                                                    member and secured to the first open end of the outer tube member.

 1[D]     an outlet coupler secured to said         The Accused Products have an outlet coupler (i.e., second connector) secured to
          second end of said inner and said outer   the second ends of the inner and outer tube members, and the outlet coupler has
          tube members, said outlet coupler         a flow thru aperture with an outlet tubular extension section sealed to a second
          having a flow thru aperture with an       open end of the inner tube member and secured to a second open end of the
          outlet tubular extension section sealed   outer tube member.
          to a second open end of said inner
          tube member and secured to a second       The below image shows the outlet coupler (i.e., second connector, annotated in
          open end of said outer tube member;       red) secured to the second end of the hose (and thus, the second end of the inner
                                                    latex tube and the outer fabric tube). As seen in the below image, the
                                                    packaging refers to this outlet coupler as a “solid metal connector.”




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 Claim        Claim Language                                        Accused Products
Element
                                     Further, the below image of the Accused Product shows that the outlet coupler
                                     (i.e., second connector) is secured to the second ends of the inner and outer tube
                                     members. The image shows that the second ends of the inner and outer tube
                                     members are crimped together and thereby connected to the outlet coupler.




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 Claim        Claim Language                                       Accused Products
Element
                                     Moreover, and similar to the inlet coupler, the below images of the Accused
                                     Product show the outlet coupler (i.e., second connector identified by the blue
                                     arrow) having a flow thru aperture (identified by the red arrow) with an outlet
                                     tubular extension section (identified by the orange arrow) sealed to the second
                                     open end of the inner tube member and secured to the second open end of the
                                     outer tube member.




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 Claim               Claim Language                                                Accused Products
Element
                                                    Notably, the second open end of the inner tube member and the outer tube
                                                    member are crimped together to the outlet tubular extension section and
                                                    therefore the outlet tubular extension section is sealed to the second open end of
                                                    the inner tube member and secured to the second open end of the outer tube
                                                    member.

 1[E]     and a flow restrictor secured to said     The Accused Products have a flow restrictor (i.e., spray nozzle) coupled to the
          outlet coupler,                           outlet coupler (i.e., second connector).

                                                    The below image shows the flow restrictor (i.e., spray nozzle), annotated in red,
                                                    which is secured to the outlet coupler via a threaded coupling connection. The
                                                    spray nozzle allows a user to manually control water flow out of the hose via a
                                                    handle – that is, the spray nozzle prevents water from flowing out of the nozzle
                                                    when the handle is in an off/closed (i.e., relaxed) position and permits water to
                                                    flow out of the nozzle when the handle is in an on/open (i.e., squeezed)
                                                    position.




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 Claim              Claim Language                                                 Accused Products
Element
                                                    Further, the below image shows that the flow restrictor (i.e., spray nozzle) is
                                                    secured to the outer coupler (i.e., second connector) via a threaded coupling
                                                    connection.




 1[F]     whereby said flow restrictor creates an   The Accused Products operate such that they satisfy this limitation.
          increase in water pressure between
          said inlet coupler and said outlet        For example, the Accused Products operate as follows: (1) the inlet coupler is
          coupler upon the introduction of          attached to a faucet, water spigot, or pressurized water source and the outlet
          pressurized water through said inlet      coupler is connected to a spray nozzle with the handle in the off/closed
          coupler to expand said inner tube         position; (2) pressurized water is introduced to the hose through the inlet
          member longitudinally along a length      coupler and into the inner tube member; (3) at this point, water pressure builds
          of said inner tube member and             up in the inner tube member and expands the inner tube member longitudinally
          laterally across a width of said inner    along the length of the inner tube and laterally across the width of the inner
          tube member thereby substantially         tube, which increases the length of the inner tube (and the hose) to an expanded
          increasing a length of said inner tube    condition within the outer tube member.
          member to an expanded condition
          within said outer tube member,            The Accused Product’s product packaging states that the hose is “3x
          wherein said inner tube contracts to a    Expandable.” Further, the “Specifications” on the packaging state that the
          substantially decreased or relaxed        “original length” of the hose is 15.4 feet while the “expanding length” of the


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 Claim              Claim Language                                              Accused Products
Element
          length when there is a decrease in     hose is 50 feet. That is, the Accused Products go from an unexpanded or
          water pressure between said inlet      relaxed length of 15.4 feet when no water pressure has been introduced to the
          coupler causing said outer tube        hose to an expanded or pressured length of 50 feet when water pressure is
          member to be gathered into a           introduced to the hose. The inner tube must also expand laterally across a
          contracted state.                      width of the inner tube as the pressure of the water increases the size of the hose
                                                 to the expanded condition.

                                                 The Accused Products further operate such that stopping the flow of
                                                 pressurized water into the inlet coupler (shutting the faucet or water spigot off)
                                                 and releasing the pressurized water out of the outlet coupler (opening the
                                                 nozzle) results in an automatic contraction of the latex inner tube (and thus, a
                                                 contraction of the hose to a decreased or relaxed length) causing the outer tube
                                                 to be gathered into a contracted state.

                                                 See also infra Perfect Hose Deluxe Rugged Series Instruction Manual (pictured
                                                 below), which is shipped with the Accused Products, and explains this process.




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 Claim        Claim Language                                 Accused Products
Element




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